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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:07-CR-06

v.                                                          HON. ROBERT HOLMES BELL

ANTHONY CARLOS ROGERS,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Anthony Carlos Rogers has filed a motion for modification or reduction of

sentence (ECF No. 567) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the

United States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       The Probation Department filed a sentence modification report on January 26, 2016 (ECF

No. 680). In its report, the probation department recommended the defendant is ineligible for

reduction in sentence indicating Defendant’s original sentence was amended to a sentence below the

mandatory minimum guideline range.

       Defense Counsel, on behalf of Defendant Rogers, filed a response to the Sentence

Modification Report (ECF No. 688), contending the probation department’s assessment is incorrect.
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He indicates that the court imposed a total sentence of 216 months; the original 264-month sentence

adjusted downward by 48 months to account for time Mr. Rogers served in state custody that could

not be credited to him by the BOP. He argues the probation department misapprehends the nature

of § 5G1.3, that it is not a downward departure, but rather an adjustment that provides a way to

properly achieve the required period of imprisonment when concurrent sentences are imposed, and

thus the amended sentence in this case is not limited to the mandatory minimum. Counsel further

states that the court is authorized to make the same 48-month adjustment under § 5G1.3, regardless

of the amended guideline range and the mandatory minimum, and is requesting a reduction of

sentence to 192 months.

       The government filed a response (ECF No. 689) and agrees Defendant is eligible for a

reduction to 192 months. The government contends the probation department incorrectly stated the

Court’s amended judgment ruling as a downward departure and the Court adjusted defendant’s

sentence downward by 48 months as credit for his prior state service for a conviction the Court found

as relevant conduct.

       The Court having thoroughly reviewed this matter, agrees with counsel. The Court further

finds that pursuant to USSG 5G1.3(b), the Defendant was actually entitled to 55 months, rather than

48 months, taken off his original sentence of 264 months for time he would not otherwise be getting

credit for, for conduct that was part of the instant offense.

       NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

of sentence (ECF No. 567) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Anthony

Carlos Rogers' sentence shall be reduced to 185 months. An order effectuating the sentence

reduction shall issue forthwith.

Dated: May 9, 2016                                /s/ Robert Holmes Bell
                                                  ROBERT HOLMES BELL
                                                  UNITED STATES DISTRICT JUDGE
